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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 AIDS VACCINE ADVOCACY
 COALITION, et al.,

                Plaintiffs,
                                                       Civil Action No. 25-00400 (AHA)
        v.

 UNITED STATES DEPARTMENT OF
 STATE, et al.,

                Defendants.


 GLOBAL HEALTH COUNCIL, et al.,

                Plaintiffs,
                                                       Civil Action No. 25-00402 (AHA)
        v.

 DONALD J. TRUMP, et al.,

                Defendants.



                                             Order

       Plaintiffs in Global Health Council v. Trump, No. 25-cv-00402, are (or represent) small

and large businesses, nonprofits, and other organizations across the United States. Plaintiffs in

AIDS Vaccine Advocacy Coalition v. United States Department of State, No. 25-cv-00400, are

health and journalistic nonprofits that receive federal grant money to perform foreign assistance

work. In both cases, Plaintiffs have brought claims under the Administrative Procedure Act (APA)

and federal Constitution challenging the issuance and implementation of Executive Order 14169,

which immediately stopped all congressionally appropriated foreign assistance funding pending

future review. AIDS Vaccine, ECF No. 1 ¶¶ 45–73; Glob. Health, ECF No. 1 ¶¶ 111–31. Plaintiffs
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in both cases have moved for a temporary restraining order, with evidence detailing the devastating

effects on American businesses and nonprofits, which have been forced to shut down programs,

to furlough or lay off employees, and in some instances to shutter altogether as a result of the

challenged action. See AIDS Vaccine, ECF No. 13 at 7–8; Glob. Health, ECF No. 4 at 15–17.

Plaintiffs’ proposed temporary restraining orders originally sought to enjoin all Defendants,

including the President, from enforcing the Executive Order in its entirety. AIDS Vaccine, ECF

No. 13-6; Glob. Health, ECF No. 4-1. The Court held a prompt hearing, at which the Government

rightly highlighted the importance of respecting the President’s Article II power, while also

recognizing that the harms Plaintiffs described may well be irreparable. During the hearing, the

Court questioned the breadth of Plaintiffs’ proposed relief, which Plaintiffs have since narrowed.

For the reasons below, the Court grants Plaintiffs’ motions for a temporary restraining order in

part, on narrower terms than Plaintiffs originally and subsequently requested.

I.     Background

       Each year, Congress appropriates billions of dollars of funds for foreign assistance, which

are then administered by the U.S. Agency for International Development (USAID) and the U.S.

Department of State. Glob. Health, ECF No. 1 ¶ 3. USAID “is the lead international humanitarian

and development arm of the U.S. government.” Cong. Rsch. Serv., IF10261, U.S. Agency for

International Development: An Overview 1 (Jan. 6, 2025). Among other things, it “provides

assistance to strategically important countries and countries in conflict” and “leads U.S. efforts to

alleviate poverty, disease, and humanitarian need.” Id. Most USAID projects are administered

through grants, cooperative agreements, or contracts with partner organizations. Id.

       On January 20, 2025, the President issued an executive order entitled “Reevaluating and

Realigning United States Foreign Aid.” Exec. Order No. 14169, 90 Fed. Reg. 8619 (Jan. 20, 2025).




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The order directed an immediate pause in “United States foreign development assistance” and

directed the Office of Management and Budget (OMB) to “enforce this pause through its

apportionment authority.” Id. § 3(a). The order further directs responsible department and agency

heads to review each foreign assistance program and to determine within 90 days of the order

“whether to continue, modify, or cease each foreign assistance program,” in consultation with the

Director of OMB and with the concurrence of the Secretary of State. Id. §§ 3(b), (c). The order

provides that the Secretary of State has authority to waive the pause “for specific programs” and

allows for new obligations or the resumption of disbursements during the 90-day review period, if

a review is conducted sooner and the Secretary of State, in consultation with the Director of OMB,

approves. Id. §§ 3(d), (e).

       In the days that followed, agency officials took actions to institute an immediate suspension

of all congressionally appropriated foreign aid. The Secretary of State issued a memorandum

suspending all new funding obligations, pending a review, for foreign assistance programs funded

by or through the State Department and USAID. Glob. Health, ECF No. 1 ¶ 42. USAID officials

also issued instructions to pause new funding, immediately issue stop-work orders, and develop

appropriate review standards. Id. ¶¶ 41, 44–45. The OMB’s acting director issued a memorandum

ordering a temporary pause of all federal financial assistance, including assistance for foreign aid

and nongovernmental organizations.” Id. ¶ 47. According to the Global Health complaint,

Defendants have “halt[ed] the obligation and disbursement of foreign-assistance funding

wholesale.” Id. ¶ 56. Plaintiffs have adduced evidence of numerous letters terminating programs

and contracts received as a result of these actions. See, e.g., Glob. Health, ECF No. 7-4 at 2, 5, 7,

13. A list Defendants provided to the Court shows that roughly 230 contracts and grants were

terminated in just the two days after they were sued, and Defendants say that list does not include




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the contracts and grants cancelled by the State Department and may not reflect all the contracts

cancelled by USAID in those two days. Glob. Health, ECF Nos. 20, 20-1.

       Plaintiffs claim that they have suffered and will continue to suffer enormous and concrete

harm to their businesses, and that their core missions and existence are in jeopardy as a result of

Defendants’ actions. Among other things, Plaintiffs have provided evidence that they have been

and will continue to be forced to shut down program offices, to furlough or terminate staff, and in

some cases to shutter their businesses entirely. See Glob. Health, ECF No. 4 at 20–23. They have

also provided supporting evidence that Defendants’ actions have had and will continue to have a

catastrophic effect on the humanitarian missions of several plaintiffs. See id. at 15–19.

       Plaintiffs seek a temporary restraining order enjoining Defendants from implementing,

enforcing, or otherwise giving effect to Executive Order 14169 and subsequent instructions and

clarifications issued by the State Department and USAID. The Court held a hearing in both cases

on February 12, 2025. Following the hearing, Plaintiffs submitted revised proposed orders that

narrowed the scope of their requested relief. AIDS Vaccine, ECF No. 16-1; Glob. Health, ECF No.

18.

II.    Legal Standard

       The grant of temporary injunctive relief is “an extraordinary remedy that may only be

awarded upon a clear showing that the plaintiff is entitled to such relief.” Winter v. Nat. Res. Def.

Council, Inc., 555 U.S. 7, 22 (2008). A plaintiff seeking a temporary restraining order must make

the same showing as he would if seeking a preliminary injunction: he must establish “that he is

likely to succeed on the merits, that he is likely to suffer irreparable harm in the absence of




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preliminary relief, that the balance of equities tips in his favor, and that an injunction is in the

public interest.” Gordon v. Holder, 632 F.3d 722, 724 (D.C. Cir. 2011). 1

III.   Discussion

       At least at this early stage, the Court finds Plaintiffs have met their burden for temporary,

emergency relief, although not with the breadth they initially or subsequently proposed.

       The Court begins with irreparable harm, given the scale of the disruption Plaintiffs have

described. Plaintiffs attest Defendants’ blanket suspension of congressionally appropriated funds

has caused them immense financial harm and has, in many cases, forced them to significantly cut

down on staff or otherwise reduce core operations. Plaintiffs do not assert this harm based upon

expectations of receiving future grants or aid; they do so upon expectations set in existing contracts

with the respective agencies. To give just a few examples from the record:

           •   One plaintiff, a large investigative journalism organization, has agreements with
               USAID and the State Department that constitute 38% of its budget, which supports
               investigations into corruption, sanction violations, and other wrongdoing. AIDS
               Vaccine, ECF No. 13-4 ¶¶ 2, 6–7, 9. Due to the suspension of appropriated funding
               and stop-work orders received as a result, the organization has been forced to cut
               43 of 199 staff members, with most remaining being moved to a shorter work week.
               Id. ¶ 12. The organization has had to cancel events, cut travel for reporting, and
               freeze new equipment purchases. Id. The organization attests that the disruption
               will continue absent relief. Id. ¶ 13.

           •   A nonprofit plaintiff focused on protecting refugees and asylum seekers has had to
               lay off 535 staff members since receiving termination notices for multiple grants.
               Glob. Health, ECF No. 7-3 ¶¶ 3–4, 13. It has been forced to shutter program offices
               and defer payments to vendors. Id. ¶ 21.



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  At the hearing on these motions, Plaintiffs noted that courts in this Circuit have sometimes
employed a “sliding scale” approach to these factors, which was particularly common before the
Supreme Court’s decision in Winter. See Nat’l Council of Nonprofits v. Off. of Mgmt. & Budget,
__ F. Supp. 3d __, No. 25-cv-239, 2025 WL 368852, at *9 (D.D.C. Feb. 3, 2025) (quoting Sherley
v. Sebelius, 644 F.3d 388, 392 (D.C. Cir. 2011)). However, the Court’s resolution of these motions
does not depend on a sliding scale method and arrives at the same place when each prong is
evaluated as “an independent, free-standing requirement.” Sherley, 644 F.3d at 393 (citation
omitted).


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           •   Another plaintiff representing small businesses across all sectors attests that the
               suspension included USAID failing to pay its member organizations for months of
               unpaid invoices. Glob. Health, ECF No. 7-2 ¶ 8. This has forced small businesses
               to furlough “most U.S. national staff in home offices and on contracts, and
               terminate foreign national staff or risk keeping them and being uncertain of
               payments under stop work orders.” Id. ¶ 10.

           •   Another plaintiff focused on addressing the global HIV/AIDS epidemic has already
               been forced to lay off seven employees and will lay off ten more over the next
               month if the suspension of appropriated foreign aid continues. AIDS Vaccine, ECF
               No. 13-2 ¶ 12.

       Other plaintiffs have described how the blanket suspension of funds has undermined their

core missions and jeopardized vital services to vulnerable populations. For example:

           •   One plaintiff asserts that the suspension of appropriated foreign aid has disrupted
               critical health programs, including maternal and child health programs and
               infectious disease prevention efforts administered by its member organizations.
               Glob. Health, ECF No. 7-1 ¶ 8. One of those member organizations reports that a
               $20 million project to support the development of hospital accreditation in
               Cambodia has been suspended. Id. Another reports that a stop-work order has
               disrupted a total of $4 million in funding for American Schools and Hospitals
               Abroad grants in Nepal and Vietnam. Id. The plaintiff organization attests that the
               suspension of appropriated foreign aid funding “is an existential threat to [its]
               members and their life-saving work.” Id. ¶ 11.

           •   Another plaintiff reports that it can no longer fund shelters for minors in Central
               America trying to escape recruitment into criminal gangs. Glob. Health, ECF No.
               7-7 ¶ 10.

           •   A different plaintiff explains that it has abruptly stopped providing medical services
               for hundreds of adolescents and young students in need in Bangladesh. Glob.
               Health, ECF No. 7-8 ¶ 12(a).

           •   An additional plaintiff attests that the freeze has delayed several time-sensitive
               antimalaria campaigns that are expected to benefit millions of people in Kenya,
               Uganda, Ghana, Ethiopia, and Zimbabwe. Glob. Health, ECF No. 7-1 ¶ 8(d).

           •   Another plaintiff that supports HIV prevention research and the rollout of HIV
               prevention medication to high-risk communities in various African countries
               asserts that the funding freeze has disrupted clinical trials and the rollout of life-
               saving medication. AIDS Vaccine, ECF No. 13-2 ¶¶ 3–4, 11.




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        At the Court’s hearing, Defendants acknowledged that the types of harms above affecting

Plaintiffs’ businesses, as well as the availability of food and medicine, are types of harm that are

appropriately considered in the irreparable harm inquiry. Defendants offered that some of the

contracts terminated might have included clauses that allowed them to be terminated in certain

circumstances, but also acknowledged that the approach taken was blanket and not limited to such

contracts. 2

        Plaintiffs have further adduced evidence that this harm has taken place and is likely to

continue despite the Secretary of State’s authority to waive the suspension of appropriated funds

for specific programs. See Glob. Health, ECF No. 17-1 at 21. They have proffered specific facts

that this has not meaningfully mitigated the harm they have described. One plaintiff, for example,

attests to a meeting with the State Department to discuss what activities would qualify for a waiver

and thus be exempted from suspension. Glob. Health, ECF No. 7-3 ¶ 11. The officer contacted

stated that he could not provide any information regarding the application of the waiver. Id. ¶¶ 11–

12. The plaintiff further attests that even in the event of a waiver, no funds could be disbursed

because federal government payout portals are no longer functioning. Id. ¶ 11. Another plaintiff




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  While not necessary to the Court’s analysis given the extensive and, at least to date, unrebutted
evidence of other types of irreparable harm, Plaintiffs have also offered evidence that they will
suffer harm to “goodwill, reputation, and relationships with employees, partners, subcontractors,
foreign governments, and other stakeholders.” Glob. Health, ECF No. 4 at 23. This includes
concrete examples such as having to violate contractual duties by deferring payments to suppliers,
vendors, and landlords, Glob. Health, ECF No. 7-6 ¶¶ 10, 15; disruptions to relationships with
longstanding partners whose trust had been cultivated over decades, id.; and having to go back on
previous assurances made to clients and partners in reliance on the agreements that have now been
cancelled, Glob. Health, ECF No. 7-9 ¶ 21. See Armour & Co. v. Freeman, 304 F.2d 404, 406
(D.C. Cir. 1962) (holding that irreparable harm was apparent where defendant’s conduct “could
not fail to damage [plaintiff’s] good name”); Atlas Air, Inc. v. Int’l Bhd. of Teamsters, 280 F. Supp.
3d 59, 103 (D.D.C. 2017) (“Injury to reputation can, at least at times, rise to the level necessary to
support the issuance of an injunction.”); Xiaomi Corp. v. Dep’t of Def., No. CV 21-280, 2021 WL
950144, at *9 (D.D.C. Mar. 12, 2021) (collecting cases).


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attests that it received a waiver, but was told that the waiver lasted only for a thirty-day period.

Glob. Health, ECF No. 7-6 ¶ 6. The plaintiff explains that such waivers do not address the problem

because a business cannot halt global supply chains midstream and then resume operations with

uncertainty as to whether it will have to halt again in thirty days. Id. At the hearing, Defendants

pointed to the waiver process but did not rebut this evidence, acknowledging that the waiver

process may have had “hiccups.” At this stage, the record before the Court does not suggest that

the waiver process in place has mitigated the irreparable harms Plaintiffs face.

       Plaintiffs have made a sufficient preliminary showing that the loss of funding at issue in

this litigation “threatens the very existence of [their] business.” Wisconsin Gas Co. v. FERC, 758

F.2d 669, 674 (D.C. Cir. 1985). And they have likewise shown that the “obstacles” created by

Defendants’ conduct “make it more difficult for the [plaintiffs] to accomplish their primary

mission.” League of Women Voters of United States v. Newby, 838 F.3d 1, 9 (D.C. Cir. 2016). The

Global Health Plaintiffs have also adduced evidence indicating that terminations and resulting

harms have continued, and possibly increased, in the two days since this lawsuit was filed. Since

the filing of their motion for a temporary restraining order, multiple plaintiffs that had not

previously received terminations or stop-work orders have started to receive them. See Glob.

Health, ECF No. 19 at 3. At the request of the Court, Defendants submitted documentation

showing that just in the two days after they were sued, they have cancelled roughly 230 additional

contracts, which Defendants say do not include the contracts cancelled by the State Department

and may not reflect all the contracts cancelled by USAID in those days. Glob. Health, ECF Nos.

20, 20-1. Absent temporary injunctive relief, therefore, the scale of the enormous harm that has

already occurred will almost certainly increase. Plaintiffs have made a strong preliminary showing

of irreparable harm.




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       It also appears, at least at this early stage, that Plaintiffs are likely to succeed on the merits.

Between the two cases, Plaintiffs challenge the actions at issue as (1) arbitrary and capricious in

violation of the APA; (2) contrary to law in violation of the APA; (3) in violation of the separation

of powers; (4) in violation of the Constitution’s Take Care Clause; and (5) ultra vires. AIDS

Vaccine, ECF No. 1 ¶¶ 45–73; Glob. Health, ECF No. 1 ¶¶ 111–31. The Court need only find that

Plaintiffs are likely to succeed on one of these claims for this factor to weigh in favor of a

temporary restraining order. That said, as the Court emphasized at the hearing and Plaintiffs

acknowledged, any relief should also be tailored accordingly. 3

       The APA permits judicial review of “final agency action” and requires a court to “hold

unlawful and set aside agency action, findings, and conclusions” that are “arbitrary, capricious, an

abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C. §§ 704, 706(2)(A). “The

scope of review under the ‘arbitrary and capricious’ standard is narrow and a court is not to

substitute its judgment for that of the agency.” Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto.

Ins. Co., 463 U.S. 29, 43 (1983). Rather, the court “must confirm that the agency has fulfilled its

duty to examine the relevant data and articulate a satisfactory explanation for its action including

a rational connection between the facts found and the choice made.” Ark Initiative v. Tidwell, 816

F.3d 119, 127 (D.C. Cir. 2016) (quotation marks omitted) (quoting State Farm, 463 U.S. at 43).

“[A]n agency rule would be arbitrary and capricious if the agency has relied on factors which

Congress has not intended it to consider, entirely failed to consider an important aspect of the

problem, offered an explanation for its decision that runs counter to the evidence before the agency,




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  Both parties will, of course, have the opportunity to develop their claims further at the preliminary
injunction phase, where the record and therefore the appropriate relief may well evolve, and to
develop them further as the case continues.


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or is so implausible that it could not be ascribed to a difference in view or the product of agency

expertise.” Id. (alteration in original) (quoting State Farm, 463 U.S. at 43).

       Here, the stated purpose in implementing the suspension of all foreign aid is to provide the

opportunity to review programs for their efficiency and consistency with priorities. However, at

least to date, Defendants have not offered any explanation for why a blanket suspension of all

congressionally appropriated foreign aid, which set off a shockwave and upended reliance interests

for thousands of agreements with businesses, nonprofits, and organizations around the country,

was a rational precursor to reviewing programs. The most Defendants offer is the possibility that

some of the abruptly terminated contracts might have had clauses which allowed termination in

certain circumstances; however, as noted, Defendants have acknowledged that they implemented

a blanket suspension that was not based on the presence or consideration of such contractual terms.

To be sure, there is nothing arbitrary and capricious about executive agencies conducting a review

of programs. But there has been no explanation offered in the record, let alone a “satisfactory

explanation . . . including a rational connection between the facts found and the choice made,” as

to why reviewing programs—many longstanding and taking place pursuant to contractual terms—

required an immediate and wholesale suspension of appropriated foreign aid.

       Plaintiffs have also shown that implementation of the blanket suspension is likely arbitrary

and capricious given the apparent failure to consider immense reliance interests, including among

businesses and other organizations across the country. No aspect of the implemented policies or

submissions offered by Defendants at the hearing suggests they considered and had a rational

reason for disregarding the massive reliance interests of the countless small and large businesses

that would have to shutter programs or shutter their businesses altogether and furlough or lay off

swaths of Americans in the process. In their implementation of the blanket suspension of foreign




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aid, Defendants accordingly appear to have “entirely failed to consider an important aspect of the

problem.”

       At the Court’s hearing, Defendants’ principal argument was that the State Department’s

and USAID’s actions taken to implement a blanket suspension of appropriated foreign aid funds

should not be considered “agency action” within the meaning of the APA. Defendants observe that

the President’s own actions are not reviewable under the APA because the President is not an

“agency.” See Franklin v. Massachusetts, 505 U.S. 788, 800–01 (1992). It follows, they say, that

an agency’s actions implementing Presidential directives should not be considered agency action.

At least at this juncture, that argument does not appear persuasive. Defendants do not ground their

argument in the text of the APA, which specifically defines “agency” to include “each authority

of the Government of the United States.” 5 U.S.C. § 551(1). While it is true that implementation

of the blanket suspension of appropriated funds took place in accordance with Presidential policy

and priorities, as agency action routinely does, the relevant directive of the Secretary of State and

subsequent determinations of agency heads have immediate effect and constitute the action under

review, without any further action by the President. And Defendants’ argument, at least as it has

been articulated to date, proves too much—it would allow the President and agencies to simply

reframe agency action as orders or directives originating from the President to avoid APA review. 4

Defendants will, of course, have an opportunity to more fully develop this argument as it relates




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  Defendants’ argument also presupposes that this is an area where the President has exclusive
authority and runs into Plaintiffs’ contention that the President was acting in violation of the
separation of powers because he “does not have unilateral authority to refuse to spend the funds”
Congress appropriates. In re Aiken County, 725 F.3d 255, 261 n.1 (D.C. Cir. 2013). As Plaintiffs
point out, even just a 90-day review period would extend past the date that relevant appropriations
are due to expire and therefore funds would literally be unspent. The Court expects Defendants
will give further shape to this argument as this litigation continues to the preliminary injunction
phase.


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to the particular actions in this case at the preliminary injunction stage. For now, however,

Plaintiffs have shown that they are likely to succeed in their argument that the implementation of

the suspension of congressionally appropriated foreign aid violated the APA.

       The final two factors—balancing the equities and the public interest—often overlap in the

context of an action to enjoin the government. See Pursuing Am.’s Greatness v. FEC, 831 F.3d

500, 511 (D.C. Cir. 2016); D.A.M. v. Barr, 474 F. Supp. 3d 45, 67 (D.D.C. 2020). Here, there are

important interests on both sides, but the factors, at least at this stage, again favor Plaintiffs.

Defendants have repeatedly, and rightly, emphasized the importance of respecting the President’s

Article II power as it relates to foreign policy. Plaintiffs, for their part, have emphasized the

Constitution’s separation of powers, which also demands respect for Congress’s Article I role in

legislating, including Congress’s choice to allow judicial review through the APA and other

statutes constraining the Executive Branch, as well as Congress’s important role in appropriating

funds. Ultimately, Plaintiffs have adduced, and Defendants have not (yet) meaningfully contested,

detailed and credible evidence of harm to countless American businesses, ranging from shutting

down programs, to furloughing and laying off employees, to shuttering altogether. Plaintiffs also

detailed the existential consequence to their missions, which may endanger the health and safety

of children and other vulnerable populations. At the Court’s hearing, Defendants did not dispute

the likelihood of those consequences, although they looked forward to having more time to develop

a record in response as the proceedings continue. And on the other side, Defendants did not argue

or adduce evidence that any concrete, real-world harm will take place in the event temporary relief

is granted. Notwithstanding the important principles on both sides, which will continue to be given

careful consideration, Plaintiffs’ credible and unrebutted evidence of harm, and the absence of any




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such evidence on the other side, tilts both the balance of equities and the public interest in their

favor.

IV.       Conclusion

          For the foregoing reasons, Plaintiffs’ motions for a temporary restraining order are denied

in part and granted in part.

          Plaintiffs’ initial proposed relief asked the Court to enjoin the President and enforcement

or implementation of Executive Order 14169. The Court does not find it appropriate or necessary

to enjoin the President or the Executive Order itself. Given the breadth of the relief initially sought

by Plaintiffs, the Court also makes clear that it does not enjoin the President’s or Secretary of

State’s statements of purpose or policy, nor does the Court enjoin any aspect of the Government’s

ability to conduct a comprehensive internal review of government programs. While Plaintiffs have

made the showing required for a temporary injunction, such relief would not be adequately tailored

to the showing made at this stage.

          The Court finds Plaintiffs have satisfied their burden for a narrower injunction concerning

the implementation of the blanket suspension of foreign aid funding, as specified below. However,

the Court also finds Plaintiffs’ proposed injunctions overbroad by including specific directives

regarding USAID personnel decisions or operational details. See Glob. Health, ECF No. 4-1

(proposed language enjoining Defendants from “terminating, furloughing, or placing personnel on

administrative leave” and ordering Defendants to clear “any administrative, operational, human

resource, or technical hurdles”); Glob. Health, ECF No. 18 (revised proposal, including the same

language). Plaintiffs appear to be including such language to ensure meaningful compliance with

the Court’s order; however, directives as to such specific operational details are overbroad in the




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absence of evidence of non-compliance. As specified below, it is sufficient to order Defendants to

take all necessary steps to carry out the Court’s order.

        Finally, at the hearing, Defendants noted that some contracts at issue may include terms

that allow them to be modified or terminated in certain circumstances. The Court finds on this

record that it would be overbroad to enjoin Defendants from taking action to enforce the terms of

particular contracts, including with respect to expirations, modifications, or terminations pursuant

to contractual provisions.

        Consistent with the reasoning above, it is hereby ORDERED that Defendants Marco

Rubio, Peter Marocco, Russell Vought, the U.S. Department of State, the U.S. Agency for

International Development, and the Office of Management and Budget (the “Restrained

Defendants”) and their agents are temporarily enjoined from enforcing or giving effect to Sections

1, 5, 7, 8, and 9 of Dep’t of State, Memorandum, 25 STATE 6828 (Jan. 24, 2025) and any other

directives that implement Sections 3(a) and 3(c) of Executive Order Number 14169, “Reevaluating

and Realigning United States Foreign Aid” (Jan. 20, 2025), including by:

   •    suspending, pausing, or otherwise preventing the obligation or disbursement of

        appropriated foreign-assistance funds in connection with any contracts, grants, cooperative

        agreements, loans, or other federal foreign assistance award that was in existence as of

        January 19, 2025; or

   •    issuing, implementing, enforcing, or otherwise giving effect to terminations, suspensions,

        or stop-work orders in connection with any contracts, grants, cooperative agreements,

        loans, or other federal foreign assistance award that was in existence as of January 19,

        2025.




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       It is further hereby ORDERED that nothing in this order shall prohibit the Restrained

Defendants from enforcing the terms of contracts or grants.

       It is further hereby ORDERED that the Restrained Defendants shall take all steps

necessary to effectuate this order and shall provide written notice of this order to all recipients of

existing contracts, grants, and cooperative agreements for foreign assistance.

       It is further hereby ORDERED that the Restrained Defendants shall file a status report by

February 18, 2025, apprising the Court of the status of their compliance with this order, including

by providing a copy of the written notice described above.

       The parties shall meet and confer and file a joint status report by February 14, 2025, at 5:00

p.m. proposing an expedited preliminary injunction briefing schedule.




                                                      AMIR H. ALI
                                                      United States District Judge

Date: February 13, 2025




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